Case 17-22775-GLT          Doc 34    Filed 11/20/17 Entered 11/20/17 15:55:09         Desc Main
                                     Document     Page 1 of 4


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                        : Bankruptcy No. 17-22775-GLT
RONALD L MCFEATERS                            :
                 Debtor                       : Chapter 7
                                              :
   Natalie Lutz Cardiello, Trustee            :
                                              :
           Movant                             :
                                              :
     v.                                       :
                                              :
   No Respondents                             :

          TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
       REAL ESTATE SERVICES AND KEFFALAS REAL ESTATE TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

       Natalie Lutz Cardiello, Esquire, Chapter 7 Trustee (the “Trustee”) for the above
referenced debtor(s) (the “Debtor”), by and through her undersigned counsel, files this
Application for entry of an order authorizing the retention of BK Global Real Estate Services
(“BKRES”) under the terms set forth in the agreement between BKRES and the Trustee (the
“BKRES Agreement”) and Keffalas Real Estate (“Listing Agent”) under the terms of the
agreement between Listing Agent and the Trustee (the “Listing Agreement”). In support thereof,
the Trustee respectfully states as follows:

                                           JURISDICTION

       1. This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157
and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (N),
and (O).

          2.   Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                           BACKGROUND

        3. On July 6, 2017 the Debtor commenced this case by filing a voluntary petition for
relief under Chapter 7 of the United States Bankruptcy Code.

        4. July 7, 2017, Natalie Lutz Cardiello was appointed as Chapter 7 trustee and has been
so serving.
Case 17-22775-GLT         Doc 34     Filed 11/20/17 Entered 11/20/17 15:55:09                Desc Main
                                     Document     Page 2 of 4


        5.   The Trustee held and concluded the 341 meeting on October 10, 2017.

       6. The Debtor is the owner of real property located at 102 Ethan Hill Dr., Harrisville,
PA 16038 (the “Property”). The Statement of Intention filed by the Debtor indicates that the
Debtor intends to surrender the Property.

       7. The Debtor has no equity in the Property. The Debtor’s schedules reflect that the
Property is currently worth $177,550, but is subject to a first mortgage lien (the “Senior
Mortgage”) in favor of PENNYMAC LOAN SERVICES (the “Secured Creditor”) in the amount
of $164,240.

        8. The Trustee, after reviewing certain materials, including (without limitation) the
BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES
and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all
creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                a. sell the Property to whichever third party the Trustee determines to have made
        the best qualified offer during a public sale approved by the Court;

                b. buy the Property from the Debtor’s estate if (and only if) no such offer is
        made;

               c. release the Senior Mortgage and otherwise waive all of its claims against the
        estate with respect to the Property (including any deficiency claims resulting from the
        proposed sale); and

                d. if the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge to
        pay all the expenses associated with the proposed sale, including the payment of a 6%
        real estate brokerage commission to BKRES and Listing Agent and reimbursement of
        their out-of-pocket expenses, and provide a carveout for the benefit of allowed unsecured
        creditors of the Debtor’s estate;

                e. if Secured Creditor purchases property, agree to a 11 U.S.C. § 506 surcharge
        to pay all the expenses associated with the proposed sale, including the payment of a 2%
        real estate brokerage commission to BKRES, of which a $500.00 fee will be paid to
        Listing Agent, and provide a carveout for the benefit of allowed unsecured creditors of
        the Debtor’s estate.

        9. By this Application, the Trustee requests authority pursuant to Sections 327, 328(a)
and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured
Creditor’s Consent, and (b) approve Secured Creditor’s payment of the fees described below
directly to BKRES, Listing Agent and any agent for the buyer that may participate in the sale at
closing of the sale of the Property, if and when the Consent and a separate motion seeking an
order approving the sale of the Property (the “Motion to Approve Sale”) are granted.

1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
Case 17-22775-GLT            Doc 34      Filed 11/20/17 Entered 11/20/17 15:55:09                     Desc Main
                                         Document     Page 3 of 4


                                                 APPLICATION

        10. Section 328(a) of the Bankruptcy Code provides, in relevant part, that a trustee “with
the court’s approval, may employ or authorize the employment of a professional person under
section 327...on any reasonable terms and conditions of employment, including on a retainer, on
an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C.
§ 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee… or a
professional person employed under section 327…(A) reasonable compensation for actual,
necessary services rendered [by such party]…and (B) reimbursement for actual, necessary
expenses.” 11 U.S.C. § 330(a)(1).

        11. The Trustee believes that the highest and best value for the Property will be
generated through a sale in which the Property is widely marketed to the public and offered at
the highest price that the market will bear. The Trustee further believes that such a sale is in the
best interest of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is
first obtained. The Trustee therefore believes that retaining BKRES2 and Listing Agent to obtain
Secured Creditor’s Consent and market the Property is in the best interests of the Debtor’s estate.

       12. In no event will the estate have any obligation to pay BKRES or Listing Agent. The
terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent
are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion
to Approve Sale is granted and (c) the Property is sold, in which event BKRES, Listing Agent
and any agent for the buyer that may participate in the sale will receive and share a real estate
brokerage commission at closing in accordance with the order approving the sale.

       13. The Trustee submits that the terms of employment and compensation as set out in
the BKRES Agreement and Listing Agreement are reasonable in light of the extensive
experience of BKRES and Listing Agent and the nature of the services they provide. Attached
hereto as Exhibit A and Exhibit B, respectively, are the BKRES Agreement and the Listing
Agreement.

       14. BKRES has attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto as Exhibit C is an Affidavit of Disinterestedness of BKRES.

       15. Listing Agent has attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto as Exhibit D is an Affidavit of Disinterestedness of Listing Agent.




2
  BKRES has extensive experience obtaining the consent and agreement of mortgages lenders and servicers to the
sale of their collateral and resolution of any resulting unsecured claims in order to produce a recovery for estates
from over-encumbered assets in which the estate has no equity and is the broker affiliate of BK Global
(http://www.bkginc.com/).
Case 17-22775-GLT       Doc 34    Filed 11/20/17 Entered 11/20/17 15:55:09            Desc Main
                                  Document     Page 4 of 4


        WHEREFORE, for the foregoing and all other necessary and proper purposes, the
Trustee seeks the Court’s authority to retain BKRES and Listing Agent in this case, and requests
that the Court approve the compensation arrangements set forth in the BKRES Agreement and
Listing Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

Dated: November 20, 2017                            Respectfully submitted,

                                                    /s/ Natalie Lutz Cardiello
                                                    Natalie Lutz Cardiello, Esquire
                                                    Counsel to the Trustee
                                                    107 Huron Drive
                                                    Carnegie, PA 15106
                                                    (412) 276-4043
                                                    ncardiello@comcast.net
                                                    PA ID# 51296
